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UNITED sTATEs DISTRICT CoURT ~`»,~, iv , m ,_
soUTHERN DIsTRIcT oF NEW YORK _ ; 1523 \J if 2 z § G "`?,
X ' Index No.:
SIGRID ALEXANDER,
JUDGE ScHoFlELo
Plaintiff, COMPLAINT
- against-
PLAINTIFF DEMANDS

FR.EELANCERS HEALTH SERVICE CORPORA'I'ION A TRIAL BY IURY
d/b/a/ HEALTH REPUBLIC TNSURANCE OF NEW

YORK, BRIAN WALKER, Individually and

RON ROS'I`OW, Individually,

Defendants. '
X

 

   

Plaintiff, SIGRID ALEXANDER, by her attorne

 

 

ATTORNEYS AT LAW, PLLC, hereby complains of the efendants, upon information and
belief, as follows:
INTRODUCTION

1. Plaintiff brings this action pursuant to Title VII of the Civil Rights Act of 1964, as amended,
42 U.S.C. § 2000e et. seq. (“Title VII”) and the NeW York City Human Rights Law,
Admim'strative Code § 8-107 et seq. (the “NYCHRL”); and seeks damages to redress the
injuries Plaintiff has suffered as a result of being subjected to sexual harassment, gender
discriminationa a hostile work environment and retaliation by the Defendants.

JURISDICTION AND VENUE
2. Jurisdiction of this Court is proper under 28 U.S.C. §§ 1331 and 1343. The Court has

supplemental jurisdiction over the claims of plaintiff brought under city law pursuant to 28

U.S.C. § 1367.
3. Venue is proper in this district based upon the fact that a substantial part of the events giving

rise to the claim occurred within the County of New York, State of New York, within the

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Southern District of New York. 28 U.S.C. §1391(b).

PROCEDURAL PREREQUISITES
Plaintiff filed charges of discrimination upon which this Complaint is based with the Equal
Employment Opportunities Commission (“EEOC”).
Plaintiff received a Notice of Right to Sue from the EEOC, on March 12, 2015, with respect to
the herein charges of discrimination A copy of the Notice is annexed hereto.
'l`his Action is being commenced within 90 days of receipt of said Notice.

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That' at all times relevant hereto, Plaintiff SIGRID ALEXANDER (“ALEXANDER”) is a
resident of the State of New York and County of Queens.
'I`hat at all times relevant hereto, Defendant FR.EELANCERS HEALTH SERVICE
CORPORATION d/b/a HEALTH REPUBLIC INSURANCE OF NEW YORK (“HRINY”)
was and is a domestic not-for-protit corporation duly existing pursuant and by virtue of the
laws of the State ofNew.
That at all times relevant hereto, Defendant HRINY owns and/or operates an office located at
30 Broad Street, 34“‘ Floor, New York, New York 10004.
That at all times relevant hereto, Plaintiff ALEXANDER was employed by Defendant HRINY
as an Accounts Payable Specialist.
That at all times relevant hereto, Defendant BRIAN WALKER (“WALKER”) was and is a
resident of the State of New York.
That at all times relevant hereto, Defendant WALKER was and is an employee of Defendant
HRINY, holding the position of IT Technical Service Manager.
That at all times relevant hereto, Defendant WALKER was Plaintiff ALEXANDER’s

supervisor and/or held supervisory authority over Plaintiff. Defendant WALKER had the

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ability to hire, fire and affect the terms and conditions of Plaintiffs employment.

14. That at all times relevant hereto, Defendant RON ROSTOW was and is an employee of
Defendant HRl'NY, holding the position of Vice President and Controller.

15. That at all times relevant hereto, Defendant ROSTOW (“ROSTOW”) was and is a resident of
the State of New York.

16. That at all times relevant hereto, Defendant ROSTOW was Plaintiff ALEXANDER’s
supervisor and/or held supervisory authority over Plaintiff. Defendant ROSTOW had the
ability to hire, fire and affect the terms and conditions of Plaintiff’s employment.

17. Defendant HRINY, Defendant WALKER and Defendant ROSTOW are collectively referred
to herein as “Defendants.”

MATERIAL FACTS

18. Plaintiff Alexander began working for Defendant HRINY in or around February 2014, as an
Accounts Payable Manager.

19. In or around March 2014, into Plaintiff’s employment with Defendant HRINY, Defendant
WALKER started making inappropriate comments to Plaintiff ALEXANDER while
smacking his lips and cat calling her.

20. Specifically, Defendant WALKER referred to Plaintiff ALEXANDER’s breasts as

“them double Ds” and made other sexually charged comments regarding her clothing

and hair.
21. On several occasions, when Plaintiff ALEXANDER went into the office kitchen to get
her morning coffee, Defendant WALKER followed her and attempted to rub himself

against Plaintiff. Plaintiff told Defendant WALKER to stop his unwanted advances.

22. In or around July 2014, the office where Plaintiff ALEXANDER worked was moved from

the 34"‘ Floor to the 7"‘ Floor of the building. At that time, Defendant WALKER’s unwanted

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advances progressed to the point of frightening Plaintiff ALEXANDER.

23. Defendant WALKER knew Plaintiff ALEXANDER’s work schedule. Instead of using the
front door to enter the building, Defendant WALKER awaited Plaintiff s arrival by the 7‘h
floor stairwell. Aware of the fact that Plaintiff arrived at work at 7 a.m., on several
occasio_nsDef§Mt WALKER startled Plaintiff by suddenly appearing behind her as
she entered the 7“‘ Floor of the building.

24. During these surprise appearances, Defendant WALKER would sing to Plaintiff
“private eyes, I am watching you, you are so vain, you probably think this song is about

you” and make sexually-charged comments towards her.

25. Defendant WALKER’s stalking behavior, his sexually charged comments, and his
frightening morning appearances led Plaintiff ALEXANDER to contact Juliana Rozario in
Human Resources.

26. Plaintiff ALEXANDER met with Ms. Rozario on or about July 28, 2014 for about one (l)
hour. During that meeting, Plaintiff complained to Ms. Rozario of the sexual harassment to
which Defendant WALKER subjected Plaintiff. Furthermore, Plaintiff ALEXANDER
conveyed to Ms. Rozario that she was afraid to go to work because of Defendant
WALKER’s threatening and offensive behavior, Ms. Rozario concluded the meeting by
informing Plaintiff that her complaint would be investigated

27. A few days later, Ms. Rozario e-mailed Plaintiff ALEXANDER to inform her that
Plaintiff’s complaint was dismissed because Ms. Rozario had not been able to verify
Plaintiff’s allegations.

28. Subsequently, cameras were installed on every comer of the 7lh Floor of the building, where

Plaintiffs office was located.

29. Defendant WALKER was transferred to the 8ch Floor but continued to “go out of his way” to

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get Plaintiff ALEXANDER’s attention As such, Defendant WALKER’s sexual harassment
of Plaintiff continued.
30. As a result of her complaint of sexual harassment, Plaintiff ALEXANDER became a

subject of retaliation.

31. Specifically, Plaintiff ALEXANDER’s work was unjustifiany criticized and she was placed
on probation.

32. On or about August l, 2014, Defendant ROSTOW, Plaintiff ALEXANDER’s manager,
performed a review of Plaintiff’s work.

33. Following the review, Defendant ROSTOW impeded Plail_liiff ALEXANDER’s work by
preventing her from further involvement in anv A/P processes and Finance meetings.
34. Upon information and belief, Plaintiff's work was sabotaged, as invoices that she had

prepared, disappeared When she confronted Defendant ROSTOW about the invoices, he

dismissed her, accusing Plaintiff of questioning his authority.

35. Conseguently, Plaintiff ALEXANDER became an outcast. She was micromanaged

daily and igpored by her co-workers during A/P and Finance meetings.

36. By way of exarnple, Plaintiff ALEXANDER was locked out of her computer multiple times
because her password had been changed without her knowledge. When Plaintiff
ALEXANDER asked for help, Defendant ROSTOW ignored her e-mails, subsequently

chastising her for not following directions regarding new processes.

37. Thereafter, Plaintiff ALEXANDER was written-up a second time by Defendant
ROSTOW and given two weeks to improve her work performance, or face termination.
38. The stress of sexual harassment and the ensuing retaliation elevated Plaintiff

ALEXANDER’s stress to such a degree, that on or about Augpst 4, 2014, Plaintiff had a

heart attack and was hospitalized for six 161 days.

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39. Upon Plaintiff ALEXANDER’s return to work, Plaintiff, Ms. Rozario and Mike Paduano, the
company CFO, participated in a videoconference with Defendant ROSTOW to inform
Plaintiff that she was still on a two-week probation. They proceeded to inform Plaintiff
ALEXANDER that at the end of the two-week probation, she would be terminated and
instructed Ms. Rozario to prepare a separation agreement and severance for Plaintiff.

40. On or about Augpst 21, 2014, due to the stress resulting from the discrimination and
retaliation by Defendants, Plaintiff ALEX`ANDER suffered a second heart attack. The
symptoms of the heart attack began while Plaintiff was sigipg at her p§k in angu_isp
over the retaliation by Defendants and sexual advances by Defendant WALKER, whose
actions remained uncorrected.

41. As a result of the heart attack, once again Plaintiff ALEXANDER was hospitalized for six
(6) days in the heart tremor unit of Comell Hospital.

42. Plaintiff ALEXANDER underwent major heart surgery to correct a weak heart from the the
second heart attack on February 17, 2015. Plaintiff ALEXANDER underwent
cardiopulmonary bypass surgery to replace the left aoric valve.

43. Plaintiff ALEXANDER was admitted to the hospital again on March 3, 2015 for surgery
complications due to Artial Fibrittation Confential Aortic stenosis respiratory distress.

44. Despite the physical manifestation of Plaintiff ALEXANDER’s Work-related stress by way
of two heart attacks, Defendant HRINY did not take any actions to reprimand Defendant
WALKER or Defendant ROSTOW for their discriminatory and retaliatory actions against
Plaintiff. On the contrary, Defendants created a hostile and repressive work environment for
Plaintiff.

45. Furthermore Defendant WALKER continues to harass Plaintiff ALEXANDER online

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and has accessed her Linkedln and personal e-mail accounts.

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46. Upon Plaintiff ALEXANDER’s information and belief, her co-workers are aware of her
complaints against Defendant WALKER. As a result, they shunned Plaintiff ALEXANDER,
ignoring her invitations for lunch and turning away at her sight They only spoke to her for
work-related issues.

47. Plaintiff ALEXANDER was forced to perform her work in a hostile environment where she
suffered continuous humiliation, intimidation and sabotage.

48. Plaintiff ALEXANDER felt and continues to feel offended, disturbed, and humiliated by the
Defendants’ aforementioned discriminatory and retaliatory comments and conduct.

49. 'l`he above are just some of the acts of harassment and discrimination that Plaintiff
ALEXANDER experienced on a regular and continual basis while employed by Defendant
HRINY.

50. Plaintiff ALEXANDER harassment, discrimination and retaliation at the hands of
Defendants, based solely on her female gender.

51. Plaintiff ALEXANDER has been unlawfully discriminated against, humiliated, harassed,
degraded and belittled; and as a result suffers loss of rights, emotional distress, loss of
income, earnings and physical injury.

52. Defendants’ actions and conduct were intentional and intended to harm the Plaintiff.

53. Plaintiff s performance was, upon information and belief, satisfactory during the course of
employment with the Defendants.

54. As a result of the acts and conduct complained of herein, Plaintiff has suffered a loss of
income, the loss of a salary, bonus, benefits, and other compensation which such
employment entails, and Plaintiff has also suffered future pecuniary losses, emotional pain,
suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses. Plaintiff

has further experienced severe emotional and physical distress,

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55. As a result of the above, Plaintiff has been damaged in an amount which exceeds the
jurisdiction limits of the Court.

56. Defendants’ conduct has been malicious, willful, outrageous, and conducted with full
knowledge of the law. As such, Plaintiff demands Punitive Damages as against both
Defendants, jointly and severally.

AS A FIRST CAUSE OF ACTION FOR DISCRIMINATION
FOR DISCRIMINATION UNDER TITLE VH
(NotA_gB§t Individual Defendgi§)

57. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this
complaint.

58. This claim is authorized and instituted pursuant to the provisions of Title VII of the Civil
Rights Act of 1964, 42 U.S.C. Section(s) 2000e et seq., for relief based upon the unlawful
employment practices of the above-named Defendants. Plaintiff complains of Defendants'
violation of Title VII's prohibition against discrimination in employment based, in whole or
in part, upon an employee's gender.

59. Defendants engaged in unlawiiil employment practices prohibited by 42 U.S.C. § 2000e et

seq., by discriminating against Plaintiff because of her gender.

AS A SECOND CAUSE OF ACTION
FOR RETALIATION UNDER TITLE VII

§§ot Against Individual Defendants)
60. Plaintiff repeats and alleges each and every allegation made in the above paragraphs of this
complaint
61. 42 U.S.C. § 2000e-3(a) provides that it shall be unlawful employment practice for an
employer: “(l) to . . . discriminate against any of his employees . . . because [s]he has
opposed any practice made unlawful employment practice by this subchapter, or because

[s]he has made a charge, testified, assisted or participated in any manner in an investigation,

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proceeding or hearing under this subchapter.”

62. By retaliating against Plaintiff for her opposition to their illegal conduct, Defendants violated

42 U.s.c. § 2000e-3(a).

AS A THIRD CAUSE OF ACTION FOR DISCRIMINATION
UNDER THE NEW YORK CITY ADMINISTRATIVE CODE

 

63. Plaintiff repeats, reiterates and realleges each and every allegation made in the above
paragraphs of this Complaint as if more fully set forth herein at length.
64. The Administrative Code of City of NY § 8-107 [1] provides that:
It shall be an unlawful discriminatory practice: (a) For an employer or an
employee or agent thereof, because of the actual or perceived age, race, creed,
color, national origin, gender, disability, marital status, sexual orientation or
alienage or citizenship status of any person, to refuse to hire or employ or to bar
or to discharge from employment such person or to discriminate against such
person in compensation or in terms, conditions or privileges of employment.
65. Defendants engaged in an unlawful discriminatory practice in violation of New York City
Administrative Code Title 8, §8-107(1)(a) by creating and maintaining discriminatory

working conditions, and otherwise discriminating against Plaintiff because of her gender.

AS A FOURTH CAUSE OF ACTION FOR DISCRIMINATION
UNDER THE NEW YORK CITY ADMINISTRATIVE CODE

 

66. Plaintiff repeats, reiterates and realleges each and every allegation made in the above
paragraphs of this Complaint as if more fully set forth herein at length.
67. Plaintiff repeats and realleges each and every paragraph above as if said paragraph was more

fully set forth herein at length.
68. The New York City Administrative Code Title 8, §8-107 (7) provides that:

It shall be unlawful discriminatory practice for any person engaged in any activity
to which this chapter applies to retaliate or discriminate in any manner against any
person because such person has (i) opposed any practice forbidden under this
chapter, (ii) filed a complaint, testified or assisted in any proceeding under this
chapter, (iii) commenced a civil action alleging the commission of an act which
would be an unlawful discriminatory practice under this chapter. ..

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69. Defendants engaged in an unlawful and retaliatory discriminatory practice by retaliating, and
otherwise discriminating against the Plaintiff, including, but not limited to, terminating
Plaintiffs employment because she opposed Defendants’ unlawii.ll employment actions.

AS A FIFTH CAUSE OF ACTION FOR DISCRIMINATION
UNDER THE NEW YORK CITY ADMINISTRATIVE CODE

70. Plaintiff repeats, reiterates and realleges each and every allegation made in the above
paragraphs of this Complaint as if more fully set forth herein at length.

71 . The New York City Administrative Code Title 8, §8-107(6) provides that it shall be unlawful
discriminatory practice: “For any person to aid, abet, incite, compel; or coerce the doing of
any of the acts forbidden under this chapter, or attempt to do so.”

72. Defendants engaged in an unlawful discriminatory practice in violation of New York City
Administrative Code Title 8, §8-107(6) by aiding, abetting, inciting, compelling and coercing
the above discriminatory, unlawful and retaliatory conduct.

AS A SIXTH CAUSE OF ACTION FOR DISCRIMINATION
UNDER THE NEW YORK CITY ADMINISTRATIVE CODE

73. Plaintiff repeats, reiterates and realleges each and every allegation made in the above
paragraphs of this Complaint as if more fully set forth herein at length.

74. New York City Administrative Code Title 8, § 8-107(13) Employer liability for
discriminatory conduct by employee, agent or independent contractor.

a. An employer shall be liable for an unlawiill discriminatory practice based upon
the conduct of an employee or agent which is in violation of any provision of this
section other than subdivisions one and two of this section.

b. An employer shall be liable for an unlawful discriminatory practice based upon

the conduct of an employee or agent which is in violation of subdivision one or

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two of this section only where:

i. the employee or agent exercised managerial or supervisory responsibility; or

ii. the employer knew of the employee’s or agent’s discriminatory conduct, and
acquiesced in such conduct or failed to take immediate and appropriate
corrective action; an employer shall be deemed to have knowledge of an
employee’s or agent’s discriminatory conduct where that conduct was known
by another employee or agent who exercised managerial or supervisory
responsibility; or

iii. the employer should have known of the employee’s or agent’s discriminatory
conduct and failed to exercise reasonable diligence to prevent such
discriminatory conduct,

c. An employer shall be liable for an unlawful discriminatory practice committed
by a person employed as an independent contractor, other than an agent of such
employer, to carry out work in furtherance of the employer’s business enterprise
only where such discriminatory conduct was committed in the course of such
employment and the employer had actual knowledge of and acquiesced in such
conduct,

75. Defendants violated the section cited herein as set forth.
M
Plaintiff demands a trial by jury.
WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:
A. Declaring that Defendants engaged in unlawful employment practice prohibited by Title VII
of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et. seq. (“Title VII”) and The

New York City Administrative Code, §8-107 et seq., that the Defendants discriminated

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against and sexually harassed the Plaintiff on the basis of her gender;

B. Awarding damages to the Plaintiff for all lost wages and benefits resulting from Defendants'
unlale discrimination and to otherwise make her whole for any losses suffered as a result
of such unlawful employment practice;

C. Awarding Plaintiff compensatory damages for mental, emotional and physical injury,
distress, pain and suffering and injury to her reputation in an amount to be proven;

D. Awarding Plaintiff punitive damages;

E. Awarding Plaintiff attorney's fees, costs, and expenses incurred in the prosecution of the
action;

F. Awarding Plaintiff such other and further relief as the Court may deem equitable, just and
proper to remedy the Defendant's unlawful employment practices.

Dated: New York, New York

April 7 , 2015

PHILLIPS & ASSOCIATES
ATTORNEYS AT LAW, PLLC

L //i m\"` _//L"`)`/
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To: Stgrid Alexander From: New ¥ork District Oftice
1708 Summer Field 33 Whlteh'all Street
Apt.$d 5th Fioor
thgewood, NY 11385 New York, NY 10004

On behalf ofperson(s) aggrieved whose identity is E C E BV §

com=ros~mr_ 129 cFR §1601.7(¢»

 

 

 
 

 

 

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EEOC Charge No. EEOC Represenlat|ve -4"`§ Telephone No.
Debra L. Richards, BY' __
520-2015»00829 investigator (212) 336-3768

 

{See also the additional information enclosed with this form.)
Nonce 'ro me PERsoN AGGRreon:

Title th of the Clvll Rights Act of 1964, the Americans with Dlsabllltles Act (ADA), or the Genetic information Nondiscrimtnation
Act tGlNA): Thts is your Notice of Right to Sue, issued under Trtle Vll, the ADA or GlNA based on the above_numbered charge lt has
been issued at your request Your lawsuit under Title Vll, the ADA or G|NA must be tiled in a federal’or state court WtTt-ltN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be IosL (The time,|imit'ior iiling suit based on a claim under
state law may be different.)

More than 180 days have passed since the li|ingof this charge,

Less than 180 days have passed since the li|ing of this charge, but | have determined that lt is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge,

The EEOC is terminating its processing of this charge.

|:l|§| E||:|

The EEOC'wi|| continue to process this charge.

Age Dlscrimtnatlon in Employment'Act (ADEA):¢ You may sue under the ADEA at any lime from 60 days aiter'the charge was filed until
90 days after you receive notice that we have completed action on the charge. ln this regard, the paragraph marked below applies to
your case:

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WlTl-llN
90 DAYS of your receipt of this Notice. Otherwise. your right to sue based on the above-numbered charge will be lost.

 

[:| The EEOC is'continuing its handling of your ADEA;case. However, if 60 days have passed since the iiling'of the charge,
you may tile suit in federal or state court under the ADEA at this lime`.

Equat Pay Act (EPA): You already have the right to sue under the EPA (iiling an EEOC charge is not required.) EPA.suits must be brought

in federal or state courtwithin 2 years (3 years for wille violations) of the alleged EPA underpayment This means that backpay due for
any violations that occurred more than 2 years~($ yaars} before you tile suit may not be collectibte.

if you tile suit, based on this charge, please send a copy ot your court complaint to this office.

 

/ On b?half'oi the Commission
‘ / nn to 2015
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Enclosures(s) \ Kevm J. Ber l,» §§ roan Marreu)
District Direct r

ccc Attn: Director of Human Resources Marjorie Mesldor, Esq.

FREELANCERS HEALTH SERV|CE'CORFORATION PH|LL|FS & ASSOCIATES

30 Wa|| Street 45 Broadway, Suite 620

New York, NY 10004 New York, NY 10006

